Case 8:19-cv-00886-VMC-SPF Document 202 Filed 11/12/19 Page 1 of 3 PageID 2460




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


    COMMODITY FUTURES TRADING
    COMMISSION,

          Plaintiff.

    v.                                           CASE NO. 8:19-cv-886-VMC-SPF

    OASIS INTERNATIONAL GROUP,
    LIMITED; OASIS MANAGEMENT, LLC;
    SATELLITE HOLDINGS COMPANY;
    MICHAEL J. DACORTA; JOSEPH S.
    ANILE, II; RAYMOND P. MONTIE, III;
    FRANCISCO “FRANK” DURAN; and
    JOHN J. HAAS;

          Defendants;

    and

    MAINSTREAM FUND SERVICES, INC.;
    BOWLING GREEN CAPITAL
    MANAGEMENT, LLC; LAGOON
    INVESTMENTS, INC.; ROAR OF THE
    LION FITNESS, LLC; 444 GULF OF
    MEXICO DRIVE, LLC; 4064 FOUNDERS
    CLUB DRIVE, LLC; 6922 LACANTERA
    CIRCLE, LLC; 13318 LOST KEY PLACE,
    LLC; AND 4OAKS, LLC;

          Relief Defendants.

              INTERVENOR UNITED STATES’ STATUS REPORT #4
          The United States of America, by Maria Chapa Lopez, United States

    Attorney for the Middle District of Florida, through the undersigned Assistant
Case 8:19-cv-00886-VMC-SPF Document 202 Filed 11/12/19 Page 2 of 3 PageID 2461




    United States Attorney, pursuant to this Court’s Order of July 12, 2019 (Doc.

    179), hereby respectfully submits this status report to the Court. The government

    continues to make progress in its ongoing criminal investigation.

           As previously reported, defendant Joseph S. Anile, II pleaded guilty to an

    information pursuant to a plea agreement on September 26, 2019. See United States

    v. Joseph S. Anile, II, Case No. 8:19-cr-334-T-35CPT. His sentencing hearing is

    set for January 8, 2020.

           The government’s investigation is ongoing. The government expects to file

    additional charges this fall.

                                            Respectfully submitted,

                                            MARIA CHAPA LOPEZ
                                            United States Attorney


                                     By:    /s/ Rachelle DesVaux Bedke
                                            Rachelle DesVaux Bedke
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Case 8:19-cv-00886-VMC-SPF Document 202 Filed 11/12/19 Page 3 of 3 PageID 2462



                             CERTIFICATE OF SERVICE

          I hereby certify that on November 12, 2019, I electronically filed the
    foregoing with the Clerk of the Court by using the CM/ECF system which will
    send a notice of electronic filing to the following:

                              Jo E. Mettenburg, Esquire
                              Jennifer J. Chapin, Esquire
                              J. Alison Auxter, Esquire
                              Mark Horwitz, Esquire
                              Vincent Citro, Esquire
                              Christopher A. Walker, Esquire
                              Dennis Vacco, Esquire
                              Scott S. Allen, Jr., Esquire
                              Brian Phillips, Esquire
                              Andrew Searle, Esquire
                              Allan M. Lerner, Esquire

           I hereby certify that on November 12, 2019, a true and correct copy of the
    foregoing document and the notice of electronic filing were sent electronic mail to
    the following non-CM/ECF participant(s):

                              Gerard Marrone, Esquire
                              gmarrownelaw@gmail.com
                              Counsel for Joseph S. Anile, II

                              Michael J. DaCorta
                              Mdacorta@oasisig.com

                              Burton W. Wiand, Receiver
                              BWiand@Wiandlaw.com


                                                  /s/Rachelle DesVaux Bedke
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